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                                      4
                                   Charles Bantis
                                   March 03, 2022

 ·   · · · · · · IN THE UNITED STATES DISTRICT COURT
 ·   · · · · · · · · FOR THE DISTRICT OF COLORADO
 ·
 ·   · ·Civil Action No. 21-cv-01073-CMA-CPG
 ·   · ·______________________________________________________

 · · · · · · VIDEOTAPED REMOTEDEPO™ DEPOSITION OF:
 · · · · · · · · ·CHARLES BANTIS - March 3, 2022
 · · ·______________________________________________________

 ·   · ·THE AARON H. FLECK REVOCABLE TRUST, through its
 ·   · ·Trustees, Aaron H. Fleck and Barbara G. Fleck,
 ·
 ·   · ·THE BARBARA G. FLECK REVOCABLE TRUST, through its
 ·   · ·Trustees, Aaron H. Fleck and Barbara G. Fleck,

 ·   · ·AARON H. FLECK and BARBARA G. FLECK, on behalf of
 ·   · ·themselves and all others similarly situated,
 ·
 ·   · ·Plaintiffs,
 ·
 ·   · ·v.
 ·
 ·   · ·FIRST WESTERN TRUST BANK,
 ·
 ·   · ·CHARLES BANTIS and
 ·
 ·   · ·ANDREW GODFREY,
 ·
 ·   · ·Defendants.
 ·   · ·______________________________________________________

 ·   ·   · · · · · · PURSUANT TO NOTICE, the Videotaped
 ·   ·   ·RemoteDepo™ deposition of CHARLES BANTIS was taken on
 ·   ·   ·behalf of the Plaintiffs by remote means, on March 3,
 ·   ·   ·2022 at 9:30 a.m., before Tracy R. Stonehocker,
 ·   ·   ·Certified Realtime Reporter, Registered Professional
 ·   ·   ·Reporter and Notary Public within Colorado, appearing
 ·   ·   ·remotely from Jefferson County, Colorado.

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      ·1·   ·Aaron.                                                   ·1·   ·The time is 10:10 p.m. UTC, 3:10 p.m. Mountain Time.
      ·2·   · · · · ·Q.· ·Okay.· Do you recall Mr. Fleck saying --    ·2·   · · · · · · · MR. PODOLL:· Okay.· I don't have any
      ·3·   ·that he expressed the opinion the guys in Denver were    ·3·   ·further questions of Mr. Bantis today.· Thank you,
      ·4·   ·not too sharp?                                           ·4·   ·Mr. Bantis, for your time and cooperation.
      ·5·   · · · · ·A.· ·I -- I do recall.                           ·5·   · · · · · · · MR. STERN:· Okay.· I have a few
      ·6·   · · · · ·Q.· ·Did you respond to that one way or          ·6·   ·follow-up questions for Mr. Bantis.
      ·7·   ·another?                                                 ·7·   · · · · · · · MR. PODOLL:· Okay.
      ·8·   · · · · ·A.· ·I probably did, but I do not recall my      ·8·   · · · · · · · THE DEPONENT:· I'm having real trouble
      ·9·   ·exact response.                                          ·9·   ·hearing.
      10·   · · · · ·Q.· ·Do you have any basis -- do you have any    10·   · · · · · · · MR. STERN:· Okay.· Can you hear me now?
      11·   ·basis for forming an opinion one way or the other as     11·   · · · · · · · THE DEPONENT:· Try again.
      12·   ·to whether the guys, particularly Doug Barker, who was   12·   · · · · · · · MR. STERN:· Can you hear me now?
      13·   ·pushing the buttons and investing Aaron's money, was     13·   · · · · · · · THE DEPONENT:· Much better.· My speaker
      14·   ·sharp or not sharp?                                      14·   ·got turned off.
      15·   · · · · ·A.· ·My opinion that they know what they're      15·   · · · · · · · MR. PODOLL:· That would explain it.
      16·   ·doing and they're very competent.                        16·   · · · · · · · THE DEPONENT:· That will do it.
      17·   · · · · ·Q.· ·Okay.· And upon what is that opinion        17·   · · · · · · · · · · ·EXAMINATION
      18·   ·based?                                                   18·   ·BY MR. STERN:
      19·   · · · · ·A.· ·Well, that was over six years of working    19·   · · · · ·Q.· ·Mr. Bantis, I'm going to ask you a few
      20·   ·with a lot of the same people.· At the time it had       20·   ·follow-up questions and I wanted to start by touching
      21·   ·been three-ish years, and, you know, in getting to       21·   ·on the area of fiduciary duties.· Mr. Podoll asked you
      22·   ·know them and seeing how they worked.· Exposure.         22·   ·a number of questions in this area and I wanted to ask
      23·   · · · · ·Q.· ·In May of -- May of 2018, what did you      23·   ·you some questions that he chose not to ask you.· So,
      24·   ·know about Doug Barker?                                  24·   ·forensic interviews, do you consider yourself an
      25·   · · · · ·A.· ·Doug Barker had been with First Western     25·   ·expert in the area of fiduciary duties?

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      ·1·   ·for some time.· I don't recall exactly how long.· He     ·1·   · · · · ·A.· ·No.
      ·2·   ·was managing a fair-size portfolio.· As I said before,   ·2·   · · · · ·Q.· ·Are you aware, though, that First
      ·3·   ·I don't recall size.· Appeared to be well regarded for   ·3·   ·Western Trust Bank sometimes does serve clients in a
      ·4·   ·his abilities.                                           ·4·   ·fiduciary capacity?
      ·5·   · · · · ·Q.· ·Was he managing any of the fiduciary        ·5·   · · · · ·A.· ·Yes.
      ·6·   ·accounts from the Aspen office in May of 2018?           ·6·   · · · · ·Q.· ·And one of those times is when it
      ·7·   · · · · ·A.· ·In May of '18, he would have been for       ·7·   ·manages investment accounts for clients, is that
      ·8·   ·the ones we had at that time.· I don't remember who      ·8·   ·correct?
      ·9·   ·our clients were at that time.                           ·9·   · · · · ·A.· ·Yes.
      10·   · · · · ·Q.· ·In May of '18, there were less than 10      10·   · · · · ·Q.· ·Are you personally responsible for
      11·   ·fiduciary accounts at First Western Trust Bank that      11·   ·managing investment accounts for clients?
      12·   ·had been entrusted to managers; is that correct in       12·   · · · · ·A.· ·No.
      13·   ·Aspen?                                                   13·   · · · · ·Q.· ·Have you ever been personally
      14·   · · · · ·A.· ·I believe that number is correct, yeah.     14·   ·responsible for managing investment accounts for
      15·   · · · · ·Q.· ·You've told me that you don't do            15·   ·clients?
      16·   ·investments.· The same is true of Mr. Godfrey, he        16·   · · · · ·A.· ·No.
      17·   ·doesn't do investments either; is that correct?          17·   · · · · ·Q.· ·Do you believe First Western Trust Bank
      18·   · · · · ·A.· ·Correct.                                    18·   ·upheld its fiduciary duties to the Flecks?
      19·   · · · · ·Q.· ·Okay.· Let's take a short break and let     19·   · · · · ·A.· ·I do.
      20·   ·me check my notes.· I'm getting close to finish this     20·   · · · · · · · MR. PODOLL:· Objection, calls for
      21·   ·afternoon.                                               21·   ·speculation this witness has testified he's not
      22·   · · · · · · · THE VIDEOGRAPHER:· Going off record.        22·   ·qualified to give.
      23·   ·The time is 10:04 p.m. UTC, 3:04 p.m. Mountain Time.     23·   · · · · ·Q.· ·(BY MR. STERN)· To your knowledge, did
      24·   · · · · · · · (Recess taken, 3:04 p.m. to 3:10 p.m.)      24·   ·First Western Trust Bank always put the Flecks'
      25·   · · · · · · · THE VIDEOGRAPHER:· Back on the record.      25·   ·interest first?


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      ·1·   · · · · · · · MR. PODOLL:· Objection, foundation.         ·1·   · · · · ·Q.· ·(BY MR. STERN)· I want to shift gears
      ·2·   · · · · ·A.· ·To my knowledge -- okay.· To my             ·2·   ·and ask you about something Mr. Podoll asked you
      ·3·   ·knowledge, yes.                                          ·3·   ·about.· He asked you about whether there was a written
      ·4·   · · · · ·Q.· ·(BY MR. STERN)· To your knowledge, was      ·4·   ·strategy you're aware of for the Flecks' trust
      ·5·   ·there ever a conflict between the Flecks' interest and   ·5·   ·accounts and I thought your answers were not exactly
      ·6·   ·First Western Trust Bank's interest?                     ·6·   ·clear, so I wanted to give you another chance to
      ·7·   · · · · · · · MR. PODOLL:· Objection, calls for a         ·7·   ·provide a clear answer.· Are you aware of any written
      ·8·   ·legal conclusion and foundation.                         ·8·   ·strategy for the Flecks' trust accounts that was in
      ·9·   · · · · ·A.· ·To my knowledge, no.                        ·9·   ·place?
      10·   · · · · ·Q.· ·(BY MR. STERN)· Can you repeat that?· It    10·   · · · · · · · MR. PODOLL:· Object to the form.
      11·   ·was a little choppy.                                     11·   · · · · ·A.· ·Right.· Objection, form.· Okay.· The
      12·   · · · · ·A.· ·To my knowledge, there was no conflict.     12·   ·IPS, the investment policy strategy.
      13·   · · · · ·Q.· ·Okay.· And you mentioned, when              13·   · · · · ·Q.· ·(BY MR. STERN)· Mr. Podoll also asked
      14·   ·Mr. Podoll was asking you questions, that you thought    14·   ·you some questions about your personal role with
      15·   ·the bank could not act for a client if acting for a      15·   ·respect to the Flecks' trust accounts and I want to
      16·   ·client is detrimental to the bank.· Did I get that       16·   ·revisit that.· Were you responsible personally for
      17·   ·correct?                                                 17·   ·managing the Flecks' trust accounts?
      18·   · · · · · · · MR. PODOLL:· Object to the form.            18·   · · · · ·A.· ·No.
      19·   · · · · ·A.· ·Yes.                                        19·   · · · · ·Q.· ·And what steps, if any, did you take to
      20·   · · · · ·Q.· ·(BY MR. STERN) Okay.                        20·   ·make sure that the Flecks' trust accounts were
      21·   · · · · ·A.· ·Yes.                                        21·   ·appropriately managed?
      22·   · · · · ·Q.· ·And if First Western Trust Bank believed    22·   · · · · ·A.· ·I made sure that I -- that we connected
      23·   ·that the client's interests were detrimental to its      23·   ·them with the right people within the company whose
      24·   ·interest, what would it do?                              24·   ·role and whose job is to manage -- manage money for
      25·   · · · · · · · MR. PODOLL:· Objection, form,               25·   ·our clients.

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      ·1·   ·speculation.                                             ·1·   · · · · ·Q.· ·Did you have confidence in those
      ·2·   · · · · ·A.· ·As I said, if we could not work that out    ·2·   ·people's ability to serve the Flecks' interest?
      ·3·   ·with the client, then we probably would ask them to go   ·3·   · · · · ·A.· ·I did.
      ·4·   ·elsewhere.                                               ·4·   · · · · · · · MR. STERN:· I have no further questions.
      ·5·   · · · · ·Q.· ·(BY MR. STERN)· Okay.· Did the situation    ·5·   · · · · · · · MR. PODOLL:· I have a few.
      ·6·   ·with -- okay.· Let me start over.· To your knowledge,    ·6·   · · · · · · · · · · ·EXAMINATION
      ·7·   ·did this situation ever occur with the Flecks where      ·7·   ·BY MR. PODOLL:
      ·8·   ·you believed that acting for the Flecks was              ·8·   · · · · ·Q.· ·Okay, Mr. Bantis, you testified that you
      ·9·   ·detrimental to the bank's interest?                      ·9·   ·don't manage investment accounts for clients; is that
      10·   · · · · ·A.· ·No, not to my knowledge.                    10·   ·correct?
      11·   · · · · ·Q.· ·Okay.· Can you provide us an example of     11·   · · · · ·A.· ·That is true.
      12·   ·a situation where a client's interest might be           12·   · · · · ·Q.· ·Did you explain that specifically to
      13·   ·detrimental to First Western Trust Bank's interest?      13·   ·Mr. Fleck?
      14·   · · · · · · · MR. PODOLL:· Objection, form.               14·   · · · · ·A.· ·I don't recall doing so.
      15·   · · · · ·A.· ·Sure.                                       15·   · · · · ·Q.· ·Okay.· Did you explain to Mr. Fleck that
      16·   · · · · ·Q.· ·(BY MR. STERN) You can answer.              16·   ·you did not have anything to do or would not have
      17·   · · · · ·A.· ·Sure.· For example, if a client wanted      17·   ·anything to do with managing the money in his
      18·   ·us to (inaudible) for example.                           18·   ·fiduciary accounts?
      19·   · · · · ·Q.· ·Sorry.· I didn't hear that.· Can you        19·   · · · · ·A.· ·I think when I introduced him or we
      20·   ·repeat it, please?                                       20·   ·introduced him to Doug Barker, I made Doug's role
      21·   · · · · · · · MR. PODOLL:· I didn't hear it either.       21·   ·clear and my role is not -- was not to be managing
      22·   · · · · ·A.· ·Sorry.· I'm looking at the camera and to    22·   ·their money.
      23·   ·the phone.· If a client -- for example, if a client      23·   · · · · ·Q.· ·Did you specifically tell Mr. Fleck, I
      24·   ·wanted us to supply records on their behalf that is      24·   ·will have nothing to do with managing the money in
      25·   ·clearly not in our interest, then we wouldn't do it.     25·   ·your fiduciary accounts?


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